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  Stephen K. Christiansen (6512)
  Randall S. Everett (18916)
  Joshua B. Cutler (16434)
  CHRISTIANSEN LAW, PLLC
  311 South State Street, Ste. 250
  Salt Lake City, Utah 84111
  Telephone: 801.716.7016
  Facsimile: 801.716.7017
  steve@skclawfirm.com
  randy@skclawfirm.com
  josh@skclawfirm.com

  Attorneys for Plaintiffs


                             IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH

    KATE GRANT and KARMANN KASTEN,
    LLC,                                                   REQUEST FOR ENTRY OF
                                          Plaintiff,    DEFAULT AGAINST MILLCREEK
                                                        COMMERCIAL PROPERTIES, LLC
    vs.
    KEVIN LONG; MILLCREEK                                 Civil No. 2:23-cv-00936-AMA-CMR
    COMMERCIAL PROPERTIES, LLC;
    COLLIERS INTERNATIONAL; BRENT                         District Judge Ann Marie McIff Allen
    SMITH; SPENCER TAYLOR; BLAKE
    MCDOUGAL; and MARY STREET,                            Magistrate Judge Cecilia M. Romero
                                        Defendants.


          Pursuant to Fed. R. Civ. P. 55, plaintiffs Kate Grant and Karmann Kasten, LLC hereby

  request the Clerk enter the default of defendant Millcreek Commercial Properties, LLC

  (“Millcreek”) for failing to seek substitute counsel. See Court Doc. No. 122.

          Counsel moved to withdraw as counsel for Millcreek. On February 28, 2025, the Court

  granted counsel’s request. Millcreek has consented to the withdrawal and does not intend to seek

  substitute counsel. Therefore, default is appropriate under the circumstances and as stated in the

  Court’s Docket Text Order of February 28, 2025 (Dkt. 122).

          A proposed default certificate is submitted herewith.
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       DATED this 4th day of March, 2025.

                                  CHRISTIANSEN LAW, PLLC


                                  By:           /s/ Stephen K. Christiansen
                                        Stephen K. Christiansen
                                        Attorneys for Plaintiffs




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